                                 EXHIBITS TO
                      PLAINTIFF PROXY-CLEAN PRODUCTS’
                            ORIGINAL COMPLAINT


P-1   United States Trademark Registration No. 2,805,574 – PROXY-CLEAN®

P-2   United States Trademark Registration No. 5,296,093 – Proxy-Clean®

P-3   United States Trademark Registration No. 5,296,094 – Mineral-Clean®

P-4   United States Trademark Registration No. 5,296,095 – Hydro-Clean®

P-5   Foam-Clean™ Logo




                                                Exhibits P-1 to P-5
                                                Plaintiff Proxy-Clean Products’
                                                Original Complaint
       Exhibit P-1
 United States Trademark
Registration No. 2,805,574
   PROXY-CLEAN®




              Exhibits P-1 to P-5
              Plaintiff Proxy-Clean Products’
              Original Complaint
Exhibit P-1
Plaintiff Proxy-Clean Products’
Original Complaint
       Exhibit P-2
 United States Trademark
Registration No. 5,296,093
      Proxy-Clean®




              Exhibits P-1 to P-5
              Plaintiff Proxy-Clean Products’
              Original Complaint
Exhibit P-2
Plaintiff Proxy-Clean Products’
Original Complaint
       Exhibit P-3
 United States Trademark
Registration No. 5,296,094
     Mineral-Clean®




              Exhibits P-1 to P-5
              Plaintiff Proxy-Clean Products’
              Original Complaint
Exhibit P-3
Plaintiff Proxy-Clean Products’
Original Complaint
       Exhibit P-4
 United States Trademark
Registration No. 5,296,095
      Hydro-Clean®




              Exhibits P-1 to P-5
              Plaintiff Proxy-Clean Products’
              Original Complaint
Exhibit P-4
Plaintiff Proxy-Clean Products’
Original Complaint
   Exhibit P-5
Foam-Clean™ Logo




         Exhibits P-1 to P-5
         Plaintiff Proxy-Clean Products’
         Original Complaint
Exhibit P-5
Plaintiff Proxy-Clean Products’
Original Complaint
